Case 1:02-Cv-01222-.]DT Document 123 Filed 05/06/05 Page 1 of 2 Page|D 89

F:’LED B`./________ D_C_

IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DIsTRlCT OF TENNESSEE 95 HAY -6 AH 8= 35

EASTERN DIVISION , _______ _
' V`vi.:‘ _ §§ " :ji
agepr ? j b_ D§QL§?T
DEMUS ach and wife, w CKSON

MELBA RICH, individually and
as Exeeutors of the Estate of
GARY BRIAN RICH, deceased,
Plaintiffs,
VS. No. 02-1222-T
CITY OF SAVANNAH, TENNESSEE, et al.,

Defendants.

AMENDED ORDER OF REFERENCE

The Order of Reference entered on May 3, 2005, referring Plaintiffs’ Motion to
Exclude the Testimony of Danny Franks, David Cagle, John Overton, and Joseph Peters,
M.D. to United States Magistrate Judge Thomas Anderson is hereby amended to refer this
matter to the Honorable 'l`u Pham for disposition

IT IS SO ORDERED.

 

  

ITED STATES DISTRICT JUDGE

<//?ZMS)MS"

DATE

This document entered on the clocttet_5 sheet ln compliance
with nme se ana/or 19 (a) FnCP on 05

1523

UNITED sTETAS DISRIC COURT - WESTE" DI'S'TRICT oF ENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 123 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson, TN 38302--114

Andrew C. Clarke
BAILEY & CLARKE
6256 Poplar Avenue
Memphis7 TN 38119

John C. Duffy

WATSON HALL & REEVES
Plaza ToWer

Ste. 1700

KnoX\/ille7 TN 37901--013

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/li1an7 TN 38358

J ames A. Hopper
HOPPER & PLUNK
P.O. Box 220
Savannah, TN 38372

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/li1an7 TN 38358

Honorable J ames Todd
US DISTRICT COURT

